           Case: 4:17-cv-02837-JCH Doc. #: 1-11 Filed: 12/06/17 Page: 1 of 2 PageID #: 65

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                  __________ Districtof
                                                                      ofMissouri
                                                                        __________

        Angela Gaterman and Robert A. Pauli, Jr.
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No. 17-CV-2837
    Kavulich & Associates, P.C. and Gary Kavulich                  )
                                                                   )
                            Defendant
                                                                   )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Gary Kavulich
                                         181 Westchester Avenue, Suite 500C
                                         Port Chester, New York 10573




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jonathan R. Miller
                                         Law Office of Jonathan R. Miller, PLLC
                                         301 N. Main Street, Suite 2415
                                         Winston-Salem, NC 27101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
            Case: 4:17-cv-02837-JCH Doc. #: 1-11 Filed: 12/06/17 Page: 2 of 2 PageID #: 66
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 17-CV-2837

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
